                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI

 Nancy Spatz, Dawn Carl, Gail Grygar, Cheryl
 Peterson, Teri Hargrave, Heather Kenney,
 Jodi Mallette, Beth Ratty, Stacy Orf and
 Brooke Morehead on behalf of themselves               Cause No.:
 and others similarly situated,

                               Plaintiffs,             Jury Trial Demanded

 v.

 Lee’s Summit R-7 School District,

                               Defendant.


                                             COMPLAINT

       Nancy Spatz, Dawn Carl, Gail Grygar, Teri Hargrave and Cheryl Peterson, Heather

Kenney, Jodi Mallette, Beth Ratty, Stacy Orf and Brooke Morehead (collectively, the

“Plaintiffs”), by and through their attorneys, on behalf of themselves and others similarly

situated, bring this cause of action against Defendant Lee’s Summit R-7 School District (the

“Defendant” or “District”) for appropriate legal and equitable relief for violations of the Equal

Pay Act of 1963, 29 U.S.C. § 206(d), as amended (the “Equal Pay Act”).

                                              PARTIES

       1.      Defendant the Lee’s Summit R-7 School District is a public-school district

organized under Missouri law and located in Jackson County, Missouri.

       2.      Defendant has the power to sue and to be sued and to exercise such other and

further powers as may be conferred by the Constitution or statutes of the State of Missouri.

       3.      Defendant is an “employer” within the meaning the Fair Labor Standards Act, 29

U.S.C. § 203. Plaintiffs’ employment with Defendant is subject to the provisions of the Equal

Pay Act.


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       4.      Plaintiff Nancy Spatz (“Spatz”) is a field technology specialist who was hired by

the District in 2001. Spatz is a female who is paid less than male field technology specialist for

performing substantially the equal work requiring equal skill, effort, and responsibility

performed under similar conditions.

       5.      Plaintiff Dawn Carl (“Carl”) is a field technology specialist who was hired by the

District in 2005. Carl is a female who is paid less than male field technology specialist for

performing substantially the equal work requiring equal skill, effort, and responsibility

performed under similar conditions.

       6.      Plaintiff Gail Grygar (“Grygar”) is a field technology specialist who was hired by

the District in 2000. Grygar is a female who is paid less than male field technology specialist for

performing substantially the equal work requiring equal skill, effort, and responsibility

performed under similar conditions.

       7.      Plaintiff Teri Hargrave (“Hargrave”) is field technology specialist who was hired

by the District in 1994. Hargrave is a female who is paid less than male field technology

specialist for performing substantially the equal work requiring equal skill, effort, and

responsibility performed under similar conditions.

       8.      Plaintiff Cheryl Peterson (“Peterson”) is a field technology specialist who was

hired by the District in 2001. Peterson is a female who is paid less than male field technology

specialist for performing substantially the equal work requiring equal skill, effort, and

responsibility performed under similar conditions.

       9.      Plaintiff Heather Kenney is employed by the District as an elementary school

principal. Kenney is a female who is paid less than male principals for performing substantially




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the equal work requiring equal skill, effort, and responsibility performed under similar

conditions.

       10.     Plaintiff Jodi Mallette is employed by the District as an elementary school

principal. Mallette is a female who is paid less than male principals for performing substantially

the equal work requiring equal skill, effort, and responsibility performed under similar

conditions.

       11.     Plaintiff Beth Ratty is employed by the District as an elementary school principal.

Ratty is a female who is paid less than male principals for performing substantially the equal

work requiring equal skill, effort, and responsibility performed under similar conditions.

       12.     Plaintiff Stacy Orf is employed by the District as an elementary school assistant

principal. Orf is a female who is paid less than male assistant principals for performing

substantially the equal work requiring equal skill, effort, and responsibility performed under

similar conditions.

       13.     Plaintiff Brooke Morehead is employed by the District as an elementary school

assistant principal. Morehead is a female who is paid less than male assistant principals for

performing substantially the equal work requiring equal skill, effort, and responsibility

performed under similar conditions.

       14.     During the relevant period from 2017 to the present, Defendant also employed

other women, who like the Plaintiffs, were paid less than males for equal work requiring equal

skill, effort, and responsibility performed under similar conditions.

                                 JURISDICTION AND VENUE

       15.     This Court has jurisdiction pursuant to 29 U.S.C. § 201, et seq., and 28 U.S.C. §

1331 and 1343.




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        16.      The unlawful pay practices alleged in this Complaint were committed within this

judicial district.

        17.      Venue is proper in this Court pursuant to 28 U.S.C § 1391(b).

         CLAIM FOR VIOLATION OF EQUAL PAY ACT, 29 U.S.C. § 206(d)(1)
   (Plaintiffs brings this claim as an “opt in” collective action pursuant to 29 U.S.C. § 216(b))

        18.      Plaintiffs incorporate by reference the allegations of paragraphs 3 through 17 and

reassert said allegations as if fully set forth herein.

        19.      The salaries for employees are determined by a salary schedule (each a “Salary

Schedule”) similar to that required by § 168.110 R.S.Mo.

        20.      Throughout each Plaintiffs’ employment with the District, the Salary Schedules

have classified, administrative and support salaries generally, though not always, by years of

service (referred to as “Steps”) and some salaries schedules have ranges that correspond with

certain job positions.

        21.      Throughout each Plaintiffs’ employment with the District, and during the relevant

period from 2017 to the present, the District’s application of the Salary Schedules has been

unreasonably and unsystematically applied so that the District pays different salaries to men and

women for equal work requiring equal skill, effort, and responsibility performed under similar

conditions and not for any reason having to do with a seniority system, a merit system, a system

which measures pay by quantity or quality of production, or any other factor other than sex.

        22.      Defendant paid Plaintiffs and others similarly situated at rates less than its male

employees, even though the jobs performed by Plaintiffs and others similarly situated required

equal skill, effort, and responsibility, and were performed under similar working conditions.

        23.      For instance, based on records provided by the Defendant, female field

technology specialists are paid substantially less than similarly situated or less senior men. A



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male employee hired on June 2, 2015, with 18 years’ experience outside the district and an AS

degree was started at step 17., in comparison Plaintiff Spatz was promoted from Site Technician

to Field Technician after working in the district since 2001, Spatz has a BS in Engineering, and

MS in Engineering Management and 20 years combined experience. Spatz was placed at Step

Level 1.

       24.     Accordingly, not only were women paid less then men, when a female employee

was promoted from within the District the years of service were not considered in factoring step

placement. Thus, in Plaintiff Spatz position a male with less education and less experience was

placed at step 17 and Spatz was placed at step 1.

       25.     Over the past 10 years all females promoted from Site Technician to Field

Technician have started over at step position 1 as opposed to being given credit for their years of

service. Whereas all male employees promoted from Site Technician to Field Technician have

retained their step placement despite movement to a new range on the salary schedule.

       26.     All employees hired from outside the district directly to the position of Field

Technician have been male and all have been given credit toward step placement for prior work

experience. Whereas women within the District are not given such credit and are, in fact,

reduced to step level 1 upon any promotion.

       27.     A male employee with one-year experience started with the Defendant in

February of 2018, as a Site Technician level 2, after six months he was promoted to Field

Technician and was placed at step level 2. Whereas, Plaintiff Hargrave, was a Site Technician

for 6 years and in January of 2018 was promoted to Field Technician but was told that all Field

Technicians start at step level 1.




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       28.     A male employee, who started in 2013 was promoted to Field Technician in 2014

and has a placement of step level 5. Plaintiff Peterson who started with the Defendant in 2001

was promoted to Field Technician and placed on step level 1. Despite having 18 years’

experience including 12 more than her male counterpart she was at step 6 and he was at step 5.

       29.     Another male employee hired in 2017 with seven years’ experience is now at a

step level 9, whereas a similarly situated female employee with 18 years’ experience including

12 as a Field Technician was only at step placement 7.

       30.     A male employee with 4 years’ experience was hired and placed on step

placement 5, Plaintiff Spatz who has 8 years’ experience as a Field Technician and 24 years of

technology experience was at step level 3 two steps below a male with substantially less

experience.

       31.     A male employee with 18 years prior experience was started at step placement 17

and this employee is now listed at step 18. Plaintiff Carl a senior field technician, who actually

trained the male employee at step 18, was only at step placement 7.

       32.     Female Field Technicians within the Defendant District have an average of 17

years of technology experience, they average 18 years of service to the District and have an

average step placement of 5.6 Whereas, male Field Technicians average 10 years technology

experience, 5 years of service to the District and have an average step placement of 7.7.

       33.     The Defendant investigated the pay of its Field Technology Specialists and

concluded, “Male Field Technology Specialists are paid a higher salary than female Field

Technology Specialists with similar or more experience.”

       34.     Another stark example of the disparity is evident in the pay of elementary school

principals and assistant principals. Although female elementary principals outnumber males by




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more than 3 to 1, the highest paid elementary principals are each male. What is worse, 3 of the 4

highest paid male elementary principals have little, very little or no experience within the district,

having been hired within the last 3 years. Moreover, there is disparity in the education levels.

Whereas female principals with their doctorate are placed lower on the salary scale than male

principals without their doctorates.

       35.     The pay disparity between male and female elementary school principals is due to

the District’s gross inconsistency in the District’s application of its Salary Schedule. There are no

authorized guidelines and no systematic approach to the application of the District’s Salary

Schedule. Whatever the system used by the District for determining the salary of elementary

school principals, it is unknown to employees, is not based on predetermined criteria, is

unstructured and unorganized, and is clearly based on sex.

       36.     Over the past 4 years men hired within the district to the position of Elementary

principal received credit for their years of service. Whereas female employees promoted from

within were not similarly credited with prior service.

       37.     Likewise, the District pays male assistant principals more than female assistant

principals for reasons that are unknown to employees, that are not based on predetermined

criteria, and that are clearly based on sex.

       38.     For instance Plaintiff Orf and Plaintiff Morehead each had three years prior

administrative experience, and each were placed on step 4 with an annual salary of $73,947.

There are five male assistant principals with three or less years of prior administrative

experience, the men were placed on step placements 7, 8 and 9 with annual salaries ranging from

$87,157 to $89,336. Accordingly, female assistant principals this school year were paid almost

$15,000.00 a year less than their male counterparts.




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       39.     The pay disparity between male and female assistant principals is due to the

District’s gross inconsistency in the District’s application of its Salary Schedule. There are no

authorized guidelines and no systematic approach to the application of the District’s Salary

Schedule. Whatever the system used by the District for determining the salary of assistant

elementary school principals, it is unknown to employees, is not based on predetermined criteria,

is unstructured and unorganized, and is clearly based on sex.

       40.     As with the Field Technicians, the Defendant investigated the pay of elementary

principles and concluded that males were paid more than similarly situated or more veteran

females. The Defendant District, through its Superintendent explained that the disparity was the

result of having negotiated the step placements with male employees.

       41.     Upon information and belief, the disparity in pay is not limited to Field

Technicians, Elementary principals and assistant principals, rather the crediting of prior years of

service for newly hired employees and/or allowing male employees to negotiate step placement

has resulted in broad disparities in pay between female employees within the Defendant District

and male employees.

       42.     Defendant’s violation of the Equal Pay provisions of the Fair Labor Standards

Act, as set forth above, was a willful violation, in that defendant knew, or should have known, of

the provisions pertaining to equal pay contained in the Fair Labor Standards Act, but continued

to pay male employees performing the same work as plaintiffs under similar working conditions

at a higher rate than plaintiffs even after plaintiffs complained of such discrimination. Such

discrimination by defendant continues to the present time.

       43.     Plaintiffs brings this Complaint as a collective action pursuant to 29 U.S.C.

§216(b) of the FLSA, on behalf of all persons who were, are, or will be employed by the




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Defendant as similarly situated employees within three years from the commencement of this

action who have been paid less than employees performing the same work under similar working

conditions based on sex, as aforesaid.

       44.        The names and addresses of similarly situated employees are available from

Defendant. To the extent required by law, notice will be provided to said individuals via First

Class Mail and/or using techniques (including and a form of notice) similar to those customarily

used in representative and collective actions.

       WHEREFORE, Plaintiffs, on behalf of themselves and all similarly situated employees

of Defendant, respectfully pray that this Court enter judgment against the Lee’s Summit R-7

School District and award damages plaintiffs in the amount found to be the unpaid differential

due under 29 U.S.C.A. § 206, an amount equal to wages and benefits lost, and an additional

equal amount as liquidated damages for defendant's malicious and willful violation of the Equal

Pay Act, plus reasonable attorney's fees and costs of this action, with interest as provided by law,

and such other and further relief as the Court deems just and equitable.

       Plaintiffs pray also for the additional relief as follows:

       a.         Designation of this action as a collective action and prompt issuance of notice

pursuant to 29 U.S.C. §216(b) to all similarly situated employees of the Defendant apprising

them of the pendency of this action and permitting them to assert timely FLSA claims in this

action by filing individual Consents To Join pursuant to U.S.C. §216(b);

       b.         Designation of Plaintiffs as Representative Plaintiffs, acting for and on behalf of

the collective;

       c.         A declaratory judgment that the practices complained of herein are unlawful

under the FLSA, 29 U.S.C. §206;




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          d.       An award of damages, including compensatory and liquidated damages, to be

paid by Defendant;

          f.       Costs and expenses of this action incurred herein, including reasonable attorneys’

fees, expert fees and costs;

          g.       Pre-Judgment and Post-Judgment interest, as provided by law; and

          h.       Any and all such other and further relief as this Court deems necessary, just and

proper.

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